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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:11CR33
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
STEPHEN JAMES DELAPINE,                       )
                                              )
              Defendant.                      )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the government's objections thereto (Filing No. 118).             No

objections were filed by the Defendant; although the Defendant did voice objections to the

probation officer and those are addressed in the Addendum to the PSR. See Order on

Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are

issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

      In Filing No. 118, the government does not specify the portion objected to in the

PSR, it merely states that it stands by its objections as indicated in the Addendum to the

Revised Presentence Investigation Report. Upon review of the Addendum, the Court notes

that the Government and Defendant object to Paragraphs #30, #31, and #38, and the

Defendant also objects to Paragraph #95.          These objections will be addressed at

sentencing.

      IT IS ORDERED:

      1.      The government's Objections to Paragraphs #30, 31, and #38 of the PSR will

be addressed at sentencing;

      2.      It is the Court’s intention to honor the parties’ plea agreement;
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       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 25th day of February, 2013.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge




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